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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                   Plaintiff,

         v.                                CRIMINAL NO. 1:17CR32-31
                                                (Judge Keeley)

  JAYLA SHADE,

                   Defendant.

       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 788),
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

         On December 21, 2017, the defendant, Jayla Shade (“Shade”),

  appeared before United States Magistrate Judge Michael J. Aloi and

  moved for permission to enter a plea of GUILTY to Count Fifty-Three

  of the Indictment. Shade stated that she understood that the

  magistrate judge is not a United States district judge, and

  consented to pleading before the magistrate judge.          This Court had

  referred the guilty plea to the magistrate judge for the purposes

  of   administering    the   allocution   pursuant   to   Federal   Rule   of

  Criminal Procedure 11, making a finding as to whether the plea was

  knowingly and voluntarily entered, and recommending to this Court

  whether the plea should be accepted.

         Based upon Shade’s statements during the plea hearing and the

  government’s proffer establishing that an independent factual basis

  for the plea existed, the magistrate judge found that Shade was

  competent to enter a plea, that the plea was freely and voluntarily
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  given, that she was aware of the nature of the charges against her

  and the consequences of her plea, and that a factual basis existed

  for the tendered plea. The magistrate judge entered an Report and

  Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

  (dkt. no. 788) finding a factual basis for the plea and recommended

  that this Court accept Shade’s plea of guilty to Count Fifty-Three

  of the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Shade’s guilty plea, and ADJUGES her GUILTY of the crime

  charged in Count Fifty-Three of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



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       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 788),
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          Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

          1.   The Probation Officer shall undertake a presentence

  investigation of Shade, and prepare a presentence report for the

  Court;

          2.   The Government and Shade shall provide their versions of

  the offense to the probation officer by January 12, 2018;

          3.   The presentence report shall be disclosed to Shade,

  defense counsel, and the United States on or before March 12, 2018;

  however, the Probation Officer shall not disclose any sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

          4.   Counsel may file written objections to the presentence

  report on or before March 26, 2018;

          5.   The Office of Probation shall submit the presentence

  report with addendum to the Court on or before April 4, 2018; and

          6.   Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual basis from the statements or motions, on or before April 4,

  2018.




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       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 788),
         ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        The magistrate judge continued Shade on bond pursuant to the

  Order Setting Conditions of Release (dkt. no. 12) entered on June

  7, 2017.

        The   Court   will   conduct    the   sentencing   hearing   for   the

  defendant on Wednesday, April 18, 2018 at 12:15 P.M. at the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: January 4, 2018


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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